Hon. Valerie Figueredo
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

May 1, 2023

Re: Baliga, et al. v. Link Motion Inc., et al., 1:18-cv-11642-VM-VF (S.D.N.Y.)

Dear Judge Figueredo,

       We write on behalf of Robert Seiden in his capacity as the Court-appointed temporary
receiver (“Receiver”) over Link Motion Inc. (“LKM”) in response to the Court’s order dated April
24, 2023 (ECF 409) and Defendant Vincent Wenyong Shi’s (“Shi”) letter dated April 21, 2023
(ECF 406; the “April 21 Letter”).

        The Receiver does not oppose Shi’s request to unseal Exhibit 1 to the April 21 Letter (ECF
406-1), particularly given that Exhibit 1 does not (as explained below) support Shi’s claims and
sealing it might create the false impression that there was any validity to those claims. However,
the Receiver’s consent to unseal Exhibit 1 is not a waiver of privilege that may apply to
communications between the Receiver’s counsel and his agents, including Mr. Lilin “Francis”
Guo (“Mr. Guo”).

        There is no basis for Shi’s contentions regarding Exhibit 1. Shi contends that “Exhibit 1
is further evidence that there was never any threat to Mr. Guo’s safety and that the true reason for
Mr. Guo’s refusal to communicate with the Receiver is to conceal from the Court what, exactly,
Mr. Guo has been doing with LKM’s assets in China.” ECF 406 at 2. Contrary to Shi’s contention,
Exhibit 1 illustrates that in late May 2022, Ms. Shuang Liu, Mr. Guo’s interpreter, was unable to
communicate with Mr. Guo and was attempting to obtain payment for her translation services.
See ECF 408-1. Specifically, in a May 25, 2022 email, Ms. Liu stated that “[m]y last heard of
Francis was on April 24.” Id., at 4. Although Mr. Guo was copied on the email chain, he never
replied to any of the emails and there is no indication that he was able to receive and review these
emails at the time. If anything, Exhibit 1 further confirms what the Receiver previously reported
to the Court, i.e., that Mr. Guo disappeared in April 2022. See ECF 309 and ECF 351.

        In his April 21 Letter, Shi further contends that certain domain names associated with
LKM are being offered for sale on the internet. While the Receiver has no knowledge regarding
the status of these domain names, it should be noted that Shi looted tens of millions of dollars
from LKM’s accounts and left LKM unable to pay its bills. See, e.g., ECF 375.

                                                                Respectfully submitted,

                                                                /s/ Amiad Kushner
                                                                Amiad Kushner


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